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                                                         HONORABLE RICHARD A. JONES
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                            UNITED STATES DISTRICT COURT
7                          WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
8
     UNITED STATES OF AMERICA,
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                  Plaintiff,
10                                                     Case No. CR14-197-RAJ-9
            v.
11                                                     ORDER
     DOMINGO VENEGAS RAMIREZ,
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                  Defendant.
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                                     I.    INTRODUCTION
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            This matter comes before the Court on Defendant Domingo Venegas Ramirez’s
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     Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. #424. For
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     the reasons that follow, the Court DENIES Defendant’s motion.
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                                      II. BACKGROUND
19
            On January 12, 2016, Defendant pled guilty to conspiring to distribute controlled
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     substances in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846. Dkt. #333. At
21
     Defendant’s sentencing hearing, his adjusted base offense level was 34 with a criminal
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     history level of II. The applicable guideline calculation suggested a sentencing range of
23   168-210 months of imprisonment. Dkt. #338. On April 8, 2016, Defendant was
24   sentenced to a term of 72 months’ imprisonment followed by four years of supervised
25   release. Dkt. #345. The Court imposed a sentence below the applicable sentencing range
26   based on 18 U.S.C. § 3553(a) factors. Statement of Reasons Form at 1. Defendant now
27   moves to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). Dkt. #424. Defendant
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     contends that he is entitled to a sentence reduction based on Amendment 782 to the
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     United States Sentencing Guidelines (“USSG”).
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                                       III. DISCUSSION
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            On April 30, 2014, the Sentencing Commission promulgated Amendment 782,
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     revising the Drug Quantity Table and chemical quality tables, which amended the
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     guideline ranges for crimes involving narcotics. On July 18, 2014, the Sentencing
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     Commission voted to make Amendment 782 retroactively applicable to previously
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     sentenced prisoners, and the amendment became effective on November 1, 2014. Thus,
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     under 18 U.S.C. § 3582(c)(2), previously sentenced prisoners may move to modify their
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     sentences on the basis of the amendment. 18 U.S.C. § 3582(c)(2) allows for a defendant
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     to move to reduce a term of imprisonment when that term is based on a sentencing range
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     that has been subsequently lowered by the Sentencing Commission.
12
            For a defendant to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2),
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     two conditions are necessary: “(1) the defendant must have been sentenced to a term of
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     imprisonment based on a sentencing range that has been lowered by a retroactively
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     applicable Guidelines amendment; and (2) the sentence reduction sought must be
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     consistent with the Sentencing Commission’s applicable policy statements.” Zapata, No.
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     CR07-0343-JLR, 2016 WL 7336159, at *1 (citing United States v. Waters, 771 F.3d 679,
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     680 (9th Cir. 2014) (per curiam)). The Court lacks jurisdiction to reduce a defendant’s
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     sentence if either of these conditions are not met. United States v. Wesson, 583 F.3d 728,
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     730 (9th Cir. 2009). The Guidelines reinforce this restriction by specifying that the Court
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     is precluded from reducing a sentence where a retroactive amendment does not lower the
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     defendant’s sentencing range. USSG § 1B1.10 (a)(2)(B).
23
            Defendant was sentenced on April 8, 2016, or almost one and one-half years after
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     Amendment 782 went into effect. The 2015 Guidelines Manual, which incorporates all
25
     guidelines amendments, was used to determine Defendant’s offense level. Dkt. #338.
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     Defendant was not sentenced to a term of imprisonment based on a sentencing range
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     retroactively lowered by a Guidelines amendment. Therefore, he does not qualify for a
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     sentence reduction under 18 U.S.C. § 3582(c)(2).
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                                     IV. CONCLUSION
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           For the reasons stated above, the Court DENIES Defendant’s Motion for
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     Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. #424.
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           DATED this 11th day of September, 2017.
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                                                    A
12                                                  The Honorable Richard A. Jones
                                                    United States District Judge
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28   ORDER – 3
